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                    IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                          )
                                                  )
               v.                                 )     Criminal No. 1:19cr59
                                                  )
DANIEL EVERETTE HALE                              )



                      GOVERNMENT’S NOTICE OF
           SUPPLEMENTAL DEPARTMENT OF DEFENSE DECLARATION

       On March 20, 2020, the Government filed its In Camera, Under Seal Motion Pursuant to

CIPA Section 6(a) of Objections Concerning the Use, Relevance, and Admissibility of Classified

Information Noticed by Defendant Pursuant to CIPA Section 5. (Dkt. 130). In footnote 14, on

page 38 of that Motion, the Government stated that the Department of Defense (DoD) was

continuing to evaluate whether the information within Stipulations E, F, and H would be

declassified at the time of trial. DoD has not made a determination with regard to Stipulations F

and H, but has determined that Stipulation E is classified.

       DoD has provided a Second Declaration, filed today with the Classified Information

Security Officer ("CISO"), explaining the classification and harm to national security that would

result if Stipulation E was disclosed. In this Second Declaration, DoD has also sought to clarify

the specific unpublished pages of classified documents covered by its First Declaration,

explained that certain redacted information is classified, and has supplemented some information
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in its First Declaration. This pleading constitutes notice of the filing of the classified declaration

with the CISO.

                                                       Respectfully submitted,

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